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EXHIBIT B
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DECLARATION OF ROBERT A. PIETZ

(Clarification for Following Exhibit C)

I, Robert A. Pietz, hereby declare as follows:

1. lam the pro se Amicus Curiae submitting the attached materials in support of my
request for leave to file amicus briefs in the above-captioned matter.

2. Exhibit C is the previously prepared [Proposed] Amicus Curiae Brief in Case No.
1:25-cv-10910-ADB, submitted here without amendment.

3. This Declaration (Exhibit B) is submitted as a clarification for the following Exhibit

4. Specifically, Exhibit C references Harvard University’s public statement,

“Upholding Our Values, Defending Our University”

s://www.harvard.edu/president/news/2025/upholdin:
cited at Point 6 on page 2, which suggested that Harvard misrepresented its litigation posture by
implying direct party status in the AAUP-led suit.

5. After the preparation of Exhibit C, I became aware that Harvard University had, in
fact, filed a separate lawsuit, Case No. 1:25-cv-11048-ADB, on the same day referenced in Exhibit
C.

6. While this fact clarifies that Harvard had filed its own direct action

contemporaneously, it does not excuse the broader procedural misrepresentations identified in

Exhibit C, nor does it refute the structural concerns and constitutional arguments raised therein.
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7.  Harvard’s filing of a parallel lawsuit does not cure the jurisdictional defects, standing
issues, or coordinated litigation strategy criticized in Exhibit C, and the substantive points
advanced remain fully applicable.

8. This Declaration is submitted in the interest of transparency and to ensure an accurate

procedural record before the Court.

I declare under penalty of perjury that the foregoing is true and correct to the best of my knowledge

and belief.

Respectfully submitted,
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wai
Robert A. Pietz
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~ (754) 277-9578

Independence, MO 64056

Dated: April 28, 2025
